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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                     Hon.    William H.       Walls

             V.                    :         Crim.    No.    13-096

LINDA YARLEQUE and                 :         ORDER FOR CONTINUANCE
FABIO MORENO VARGAS


             This matter having come before the Court on the joint

application of Paul J.       Fishman,     United States Attorney for the

District of New Jersey       (Rachael A.     Honig,    Assistant U.S.

Attorney,    appearing),    defendant Linda Yarleque           (Peter Willis,

Esq.,    appearing),    and defendant Fabio Moreno Vargas              (Carol

Gillen,    Assistant Federal Public Defender,           appearing)       for an

order granting a continuance of the proceedings in the above-

captioned matter,       and the defendants being aware that they have

the right to have the matter brought to trial within 70 days of

the date of their appearances before a judicial officer of this

court pursuant to Title 18,       United States Code,           Section

3161(c) (1),      and the defendants having consented to such a

continuance,       and it appearing that the defendants waive such

right,    and for good and sufficient cause shown,

             IT IS THE FINDING OF THIS COURT that this action should

be continued for the following reasons:

             (1)    The discovery in this case involves a large

quantity of financial records that defense counsel requires

additional time to review;
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             (2)    Taking into account the exercise of diligence,

therefore,    the facts of this case require that defense counsel be

permitted a reasonable amount of additional time for effective

preparation in this matter;

             (3)   Plea negotiations are currently in progress,           and

both the United States and the defendants desire additional time

to negotiate plea agreements,        which would render trial of this

matter unnecessary;

             (4)   As a result of the foregoing,      pursuant to Title 18,

United States Code,       Section 3161(h) (7),    the ends of justice

served by granting the continuance outweigh the best interest of

the public and the defendant in a speedy trial.

             IT IS,   therefore,   on this          day of July,     2013,

             ORDERED that this action be,        and hereby is,    continued;

and it is further

             ORDERED that the trial in this matter shall be

scheduled for      OCkD    rS,20I     and it is further

             ORDERED that pretrial motions shall be filed no later

than   ctM(            ,20)3; and it is further



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          ORDERED that the period of time from the date of this

order through    bC%ff IS, 0I3            shall be excludable in

computing time under the Speedy Trial Act of 1974.




                                       HON
                                       United States District Judge




Form and entry
consented to:


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Racael iI. Hnig
Assistant U.S. Attorney
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P—W444s, Esq
Counsel for defendant Linda Yarleque




Carol
Assitant Federal Public Defender
Counsel for defendant Fabio Moreno Vargas
